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 4                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
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 6   STANLEY SUPPLY & TOOL, INC., a
     New York corporation,                     NO: 13-CV-400-RMP
 7
                              Plaintiff,       ORDER OF DISMISSAL WITH
 8                                             PREJUDICE
          v.
 9
     UNIVERSAL FUNDING
10   CORPORATION, a Washington
     corporation,
11
                              Defendant.
12

13   UNIVERSAL FUNDING
     CORPORATION, a Washington
14   corporation,

15                 Third Party Plaintiff,

16   v.

17   STANLEY SUPPLY & TOOL, INC., a
     New York Corporation; and GREGG
18   HAGGERTY and GRACE
     HAGGERTY, individually and the
19   marital community comprised thereof,

20               Third Party Defendants.



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
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 1         BEFORE the Court is the parties’ Stipulation and Agreed Motion for

 2   Dismissal with Prejudice, ECF No. 16. Having reviewed the Stipulation and the

 3   file and pleadings, the Court finds good cause to grant dismissal as requested.

 4   Accordingly, IT IS HEREBY ORDERED:

 5         1. The parties’ Stipulation and Agreed Motion, ECF No. 16, is

 6            GRANTED. Plaintiff’s Complaint and any and all claims,

 7            counterclaims, third party claims, and causes of action are dismissed with

 8            prejudice and without costs to any party.

 9         2. All pending motions, if any, are DENIED AS MOOT.

10         3. All scheduled court hearings, if any, are STRICKEN.

11         The District Court Clerk is directed to enter this Order, provide copies to

12   counsel, and close this case.

13         DATED this 7th day of May 2014.

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15                                                s/ Rosanna Malouf Peterson
                                             ROSANNA MALOUF PETERSON
16                                          Chief United States District Court Judge

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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
